              Case 21-01776-LT7                   Filed 04/30/21           Entered 04/30/21 14:53:59                  Doc 1       Pg. 1 of 55


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hyperikon, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8821 Production Ave
                                  San Diego, CA 92121
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5020 W. 81st Street Indianapolis, IN 46268
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.hyperikon.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 21-01776-LT7                     Filed 04/30/21          Entered 04/30/21 14:53:59                       Doc 1     Pg. 2 of 55

Debtor    Hyperikon, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
               Case 21-01776-LT7                       Filed 04/30/21             Entered 04/30/21 14:53:59                      Doc 1      Pg. 3 of 55

Debtor    Hyperikon, Inc.                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                                 Indiana warehouse consists of approximately 1800 pallets of goods that should be of
                                                                 considerable value to the estate. In addition, there is inventory located at 240 Teller
                                                   Other        St., Corona, CA 92879.
                                                                                   5020 W. 81st Street
                                                  Where is the property?           Indianapolis, IN, 46268-0000
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency    Marsh & McLennan
                                                               Contact name        Mary Jones
                                                               Phone               858-587-7516


          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
             Case 21-01776-LT7           Filed 04/30/21         Entered 04/30/21 14:53:59                     Doc 1     Pg. 4 of 55

Debtor   Hyperikon, Inc.                                                             Case number (if known)
         Name

                             $500,001 - $1 million                    $100,000,001 - $500 million              More than $50 billion

16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million                 $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million              More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 5 of 55
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 6 of 55
             Case 21-01776-LT7                                   Filed 04/30/21                         Entered 04/30/21 14:53:59                                          Doc 1        Pg. 7 of 55

 Fill in this information to identify the case:

 Debtor name            Hyperikon, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        8,272,146.01

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        8,272,146.01


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $        1,124,050.11

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        9,350,392.96


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        10,474,443.07




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
            Case 21-01776-LT7                         Filed 04/30/21         Entered 04/30/21 14:53:59              Doc 1           Pg. 8 of 55

 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Pacific Mercantile Bank                                  Checking                     5600                                 $133,748.91




            3.2.   City National Bank                                       Checking                     8785                                  $72,418.24




            3.3.   Amount is in CAD                                         Checking                     696                                         $514.08




            3.4.   PayPal Balance                                                                                                                    $406.30




            3.5.   Pacific Mercantile Bank                                  Checking                     2583                                    $1,814.03



                   Payoneer (Walmart payment platform)
            3.6.   Money is in transit to PMB Acct 5600                     Other                                                                $3,888.78




            3.7.   Pacific Mercantile Bank                                                               5400                                        $833.34

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 21-01776-LT7                         Filed 04/30/21         Entered 04/30/21 14:53:59            Doc 1   Pg. 9 of 55


 Debtor            Hyperikon, Inc.                                                           Case number (If known)
                   Name




 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $213,623.68
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Lease Security Deposit - Becknell Investors 2011 LLC                                                          $47,073.59




            7.2.     Lease Security Deposit - Fastenal Company                                                                     $25,000.00




            7.3.     Lease Security Deposit - R.J. Land Company, L.P.                                                                $5,664.00




            7.4.     Lease Security Deposit - MGM Partnership                                                                      $59,392.29




            7.5.     Lease Security Deposit - 707 Proxima                                                                          $15,351.47



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid Software - Oracle America Inc. (non-refundable)                                                         $5,688.46




            8.2.     Prepaid Software - ICS (non-refundable)                                                                       $37,800.00




            8.3.     Prepaid Software - Shiphawk (non-refundable)                                                                    $8,250.00




            8.4.     Prepaid Insurance                                                                                             $16,507.45




            8.5.     Prepaid Listing Fee for UL certification (non-refundable)                                                     $35,028.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21          Entered 04/30/21 14:53:59                Doc 1     Pg. 10 of 55


 Debtor         Hyperikon, Inc.                                                                Case number (If known)
                Name



 9.         Total of Part 2.                                                                                                          $255,755.26
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           590,271.95   -                                0.00 = ....                 $590,271.95
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                              210,232.88   -                               0.00 =....                   $210,232.88
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                          $800,504.83
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    Dynamo Resources, Inc.                                         100         %                                                  $0.00




            15.2.    Lighting United, Inc.                                          100         %                                                  $0.00




            15.3.    MG Capital, LLC                                                100         %                                                  $0.00


                     Stonebarn Ltd, United C, 8F Kind Palace
                     Plaze, Not 55 Kind Yip Street, Kwun Tong,
            15.4.    Kowlon, Hong Kong.                                             100         %                                                  $0.00


                     Hyperikon S.A. de C.V.
                     Jose Clemente Orozco 2410
                     Int 3016
            15.5.    Zona Urbana Rio, Tihuana Baja CA 22010                         100         %                                                  $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59              Doc 1     Pg. 11 of 55


 Debtor         Hyperikon, Inc.                                                                  Case number (If known)
                Name




 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                   $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory (book value in
           debtor's records.
           Inventory valuation is
           average costing. Most
           recent inventory count
           was the week of January
           8, 2021                                                                             $0.00                                    $5,648,531.75



 22.       Other inventory or supplies
           Prepaid Inventory                                                            $581,537.95                                       $581,537.95



 23.       Total of Part 5.                                                                                                         $6,230,069.70
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21         Entered 04/30/21 14:53:59             Doc 1      Pg. 12 of 55


 Debtor         Hyperikon, Inc.                                                               Case number (If known)
                Name


     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture/Fixtures                                                    $5,165.86                                         $5,165.86



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $5,165.86
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:    Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Toyota Prius Plugin                                                $5,298.33                                         $5,298.33



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Warehouse Equipment                                                        $15,846.83                                        $15,846.83


           Building Upgrades Fixtures                                                $313,815.52                                       $313,815.52




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21         Entered 04/30/21 14:53:59             Doc 1      Pg. 13 of 55


 Debtor         Hyperikon, Inc.                                                               Case number (If known)
                Name


 51.        Total of Part 8.                                                                                                       $334,960.68
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            All intellectual property (ased on BVS
            valuation)                                                                 Unknown       Appraisal                         $432,066.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                       $432,066.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21         Entered 04/30/21 14:53:59            Doc 1   Pg. 14 of 55


 Debtor         Hyperikon, Inc.                                                              Case number (If known)
                Name



     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
            Case 21-01776-LT7                            Filed 04/30/21                   Entered 04/30/21 14:53:59                           Doc 1      Pg. 15 of 55


 Debtor          Hyperikon, Inc.                                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $213,623.68

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $255,755.26

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $800,504.83

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $6,230,069.70

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $5,165.86

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $334,960.68

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $432,066.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $8,272,146.01            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,272,146.01




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21      Entered 04/30/21 14:53:59               Doc 1        Pg. 16 of 55

 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21                  Entered 04/30/21 14:53:59                            Doc 1            Pg. 17 of 55

 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1                                                                                                                                                                   $1,124,050.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $1,124,050.11          11
           Department Homeland Sec.                                  Check all that apply.
           USCBP                                                      Contingent
           555 Battery St.                                            Unliquidated
           Attn: Katrina Williams                                     Disputed
           San Francisco, CA 94111-2312
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Customs claims
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $1,222,586.67
           Becknell Investors 2011 LLC                                              Contingent
           2750 East 146th Street, #200                                             Unliquidated
           Carmel, IN 46033                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Rent through remaining term
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $11,348.20
           Braumiller Law Group                                                     Contingent
           5220 Spring Valley Road, Suite                                           Unliquidated
           Dallas, TX 75254                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Legal
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                   39763                                           Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 18 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $800.00
          Butterfield Schechter LLP                                           Contingent
          10021 Willow Creek Road, #200                                       Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $246.60
          Cintas                                                              Contingent
          PO Box 631025                                                       Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $119.00
          CT Corporation                                                      Contingent
          Zuidpoolsingel 2408 ZE Alphen                                       Unliquidated
          and Rijn NETHERLANDS                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,430.24
          Demand Packaging LLC                                                Contingent
          1607 Augusta Parkway                                                Unliquidated
          Henryville, IN 47126                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,500.00
          Elite SEM/Tinuiti                                                   Contingent
          PO Box 28415                                                        Unliquidated
          New York, NY 10087-8415                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $575.00
          Exfreight                                                           Contingent
          2290 - 10th Avenue                                                  Unliquidated
          Suite 501                                                           Disputed
          Lake Worth, FL 33461
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $472,662.00
          Fastenal Company                                                    Contingent
          Property Administration                                             Unliquidated
          1801 Theurer Blvd.                                                  Disputed
          Winona, MN 55987
                                                                             Basis for the claim:    Rent through remaining term
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 19 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $28,496.29
          FedEx                                                               Contingent
          PO Box 63247                                                        Unliquidated
          North Charleston, SC 29419                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $47.50
          Flexport                                                            Contingent
          760 Market Street, 8th Floor                                        Unliquidated
          San Francisco, CA 94102                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $306.99
          Fusion Logistics                                                    Contingent
          1900 NW Corporate Blvd.                                             Unliquidated
          Boca Raton, FL 33431                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $47.50
          Globaltranz Enterprises, Inc.                                       Contingent
          3001 N. Main Street                                                 Unliquidated
          Prescott Valley, AZ 86314                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $825,704.56
          HomeLite Technology Co., Ltd.                                       Contingent
          No. 319 Jiugan Rd.                                                  Unliquidated
          Shanghai 201601 CHINA                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $12,678.29
          Intact Insurance                                                    Contingent
          605 Highway 169 North                                               Unliquidated
          Suite 800                                                           Disputed
          Minneapolis, MN 55441
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $298,921.12
          Jan Brandrup                                                        Contingent
          PO Box 1288                                                         Unliquidated
          Rancho Santa Fe, CA 92067                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 20 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,520.00
          Laz Parking                                                         Contingent
          PO Box 847370                                                       Unliquidated
          Los Angeles, CA 90084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $15,000.00
          Lighting Science Group Corp                                         Contingent
          PO Box 847370                                                       Unliquidated
          Dept. #9819                                                         Disputed
          Los Angeles, CA 90084
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $42,513.24
          M.H. Equipment                                                      Contingent
          4469 Solutions Center                                               Unliquidated
          Chicago, IL 60677-4004                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,044,278.40
          MGM Partnership                                                     Contingent
          13359 Old Winery Road                                               Unliquidated
          Poway, CA 92064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    rent for remaining term
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,007.22
          MNP                                                                 Contingent
          Suite 2000, 330 5 Ave. S.W.                                         Unliquidated
          Calgary Alberta CANADA T2P OL4                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,034.00
          Noel Kean                                                           Contingent
          10018 Holborn Street                                                Unliquidated
          Santee, CA 92071                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $47,783.03
          Oracle America Inc.                                                 Contingent
          500 Oracle Parkway                                                  Unliquidated
          Redwood City, CA 94065                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 21 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,920.00
          Panitch Schwarze Belisario                                          Contingent
          Two Commerce Square                                                 Unliquidated
          2001 Market Street, Suite 2800                                      Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          Pete Kistler                                                        Contingent
          3404 American Dr, Apt. .3123                                        Unliquidated
          Redwood City, CA 94065                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,911.33
          Prolift                                                             Contingent
          12001 Plantside Drive                                               Unliquidated
          Louisville, KY 40299                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $81,302.80
          Proxima 707 LLC                                                     Contingent
          Dept. LA 24590                                                      Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $516.00
          Quench USA, Inc.                                                    Contingent
          PO Box 781393                                                       Unliquidated
          Philadelphia, PA 19178-1393                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $986.72
          Ray's Trash Services, Inc.                                          Contingent
          6251 S. Indianapolis Road                                           Unliquidated
          Whitestown, IN 46075                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $19,728.21
          Shenzhen Guanke Technologies                                        Contingent
          A101, Bldg 34 Zialang Ind. Zon                                      Unliquidated
          GUANGDONG, CHINA 518106                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 22 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $118,178.62
          Shenzhen Hyperlite Lighting                                         Contingent
          Hongfa Ind. Area, Bldg. 5                                           Unliquidated
          518000 Shenzhen CHINA                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $236,204.69
          Shenzhen SNC Opto Electronics                                       Contingent
          BI 6 Zhengdaan Industry Pk 172                                      Unliquidated
          SongGang town, CHINA                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,595,751.30
          Shenzhen Topband Co. LTD.                                           Contingent
          No. 113 Dongxin Avenue                                              Unliquidated
          Huizhou City, CHINA                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $237,720.79
          Signify Holding B.V., License                                       Contingent
          Bldg, HTC 5, 5th Floor                                              Unliquidated
          5656 AE Eindhoven Netherlands                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $57,369.98
          Sreit 8421 Bearing Drvive, LLC                                      Contingent
          PO Box 789956                                                       Unliquidated
          Philadelphia, PA 19178-9956                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $350.00
          Steam Logistics                                                     Contingent
          PO Box 117301                                                       Unliquidated
          Atlanta, GA 30368                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $58,908.51
          Toppo Lighting Company Limited                                      Contingent
          Building 6, Huang Rd GaoQiao                                        Unliquidated
          LongGang Dist. Shenzhen 518117                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 23 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $35,028.00
          UL AG                                                               Contingent
          75 Remittance Drive, Ste. 1524                                      Unliquidated
          Chicago, IL 60675-1524                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $167.82
          UPS Supply Chain Solution, Inc                                      Contingent
          28013 Network Place                                                 Unliquidated
          Chicago, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $451,027.00
          US Small Business Association                                       Contingent
          409 3rd Street, SW                                                  Unliquidated
          Washington, DC 20416                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $10,000.00
          USA Debt Recovery Solutions                                         Contingent
          255 W. Foothill Blvd., #205                                         Unliquidated
          Upland, CA 91786                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,750.00
          VELOX Media                                                         Contingent
          816 W. Bannock Street                                               Unliquidated
          Suite 306                                                           Disputed
          Boise, ID 83702
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $697.74
          Walmart Inc.                                                        Contingent
          c/o Bank of America                                                 Unliquidated
          PO Box 500787                                                       Disputed
          Saint Louis, MO 63150
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,174.04
          Wendego Informaton Technology                                       Contingent
          9685 Via Excelencia, Suite 102                                      Unliquidated
          San Diego, CA 92126                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                            Doc 1          Pg. 24 of 55

 Debtor       Hyperikon, Inc.                                                                         Case number (if known)
              Name

 3.45      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $10,825.00
           Xen Uaj Dooel                                                      Contingent
           Franklin Ruzvelt 7.1011                                            Unliquidated
           1000 Skopje North Macedonia                                        Disputed
           Skopje, Macenonia
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.46      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $369,268.56
           Zhejiang Hengdian Tospo Imp.                                       Contingent
           RM3/F World Trade Office Plaza                                     Unliquidated
           122 Shuguang Rd Hangzhou CHINA                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                    1,124,050.11
 5b. Total claims from Part 2                                                                            5b.    +   $                    9,350,392.96
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      10,474,443.07




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21        Entered 04/30/21 14:53:59                 Doc 1         Pg. 25 of 55

 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Lease for 4850 S.
              lease is for and the nature of              Indianapolis Rd.
              the debtor's interest                       Whitestown, IN

                  State the term remaining                1/31/2022
                                                                                        Becknell Investors 2011 LLC
              List the contract number of any                                           2750 East 146th Street, #200
                    government contract                                                 Carmel, IN 46033


 2.2.         State what the contract or                  sublease of property at
              lease is for and the nature of              8515 Miramar Place,
              the debtor's interest                       San Diego, CA 92121

                  State the term remaining
                                                                                        Crest Beverage LLC
              List the contract number of any                                           8870 Liquid Ct.
                    government contract                                                 San Diego, CA 92121


 2.3.         State what the contract or                  Lease for commerical
              lease is for and the nature of              property at 5010 W.
              the debtor's interest                       81st Street,
                                                          Indianapolis, IN 46268
                  State the term remaining                10/31/2022                    Fastenal Company
                                                                                        Property Administration
              List the contract number of any                                           1801 Theurer Blvd.
                    government contract                                                 Winona, MN 55987


 2.4.         State what the contract or                  Sublease of property at
              lease is for and the nature of              4580 S. Indianapolis
              the debtor's interest                       Rd, Whitestown, IN
                                                          46052
                  State the term remaining                12/31/2022
                                                                                        Home Goods, Inc - The TJX Comp
              List the contract number of any                                           300 Value Way
                    government contract                                                 Marlborough, MA 01752




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21              Entered 04/30/21 14:53:59                Doc 1   Pg. 26 of 55

 Debtor 1 Hyperikon, Inc.                                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Lease for commercial
             lease is for and the nature of               property at 8515
             the debtor's interest                        Miramar Place, San
                                                          Diego, CA 92121
                  State the term remaining                10/31/2022
                                                                                         MGM Partnership
             List the contract number of any                                             13359 Old Winery Road
                   government contract                                                   Poway, CA 92064


 2.6.        State what the contract or                   Patent License
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                2/33                           Philips Lighting Holding B.V.
                                                                                         Intellectual Property
             List the contract number of any                                             5656 AEEindhoven
                   government contract                                                   The Netherlands




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
           Case 21-01776-LT7                          Filed 04/30/21         Entered 04/30/21 14:53:59          Doc 1        Pg. 27 of 55

 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 28 of 55




 Fill in this information to identify the case:

 Debtor name         Hyperikon, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $6,622,425.08
       From 1/01/2021 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $24,788,515.42
       From 1/01/2020 to 12/31/2020
                                                                                                Other


       For year before that:                                                                    Operating a business                             $38,467,570.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   Warehouse Sublease -
       From 1/01/2021 to Filing Date                                                           HomeGoods                                             $258,400.00


       From the beginning of the fiscal year to filing date:
       From 1/01/2021 to Filing Date                                                           Warehouse Sublease - Crest                            $250,053.28


       From the beginning of the fiscal year to filing date:                                   American Efficient Credits
       From 1/01/2021 to Filing Date                                                           from Sale of LED Lighting
                                                                                               Products                                               $13,706.83



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1      Pg. 29 of 55

 Debtor       Hyperikon, Inc.                                                                           Case number (if known)



                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)
       For prior year:                                                                         Warehouse Sublease -
       From 1/01/2020 to 12/31/2020                                                            HomeGoods                                               $81,826.67


       For prior year:
       From 1/01/2020 to 12/31/2020                                                            Warehouse Sublease - Crest                             $733,772.82


       For prior year:                                                                         American Efficient Credits
       From 1/01/2020 to 12/31/2020                                                            from Sale of LED Lighting
                                                                                               Products                                               $100,841.97


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Globaltranz Enterprises, Inc.                               February,                        $13,352.51          Secured debt
               3001 N. Main Street                                         2021 - April,                                        Unsecured loan repayments
               Prescott Valley, AZ 86314                                   2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other5023 - Shipping Fees -
                                                                                                                               Inbound Amazon USA

       3.2.
               Dept. oif Homeland Security - US                            February,                       $482,252.15          Secured debt
               Customs                                                     2021 - April,                                        Unsecured loan repayments
               555 Battery Street                                          2021                                                 Suppliers or vendors
               San Francisco, CA 94111-2312                                                                                     Services
                                                                                                                                Other   5025 - Duty Fees

       3.3.
               Exfreight                                                   February,                       $207,875.60          Secured debt
               2290 - 10th Avenue, Suite 501                               2021 - April,                                        Unsecured loan repayments
               Lake Worth, FL 33461                                        2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other5035 - Shipping Fees -
                                                                                                                               Inbound Marketplace Valet

       3.4.
               Amazon Marketing Services                                   February,                       $348,141.62          Secured debt
               410 Terry Avenue, North                                     2021 - April,                                        Unsecured loan repayments
               Seattle, WA 98109                                           2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6007 - Amazon
                                                                                                                               Marketing Services




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1      Pg. 30 of 55

 Debtor       Hyperikon, Inc.                                                                           Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.5.
               Exclusive Concepts Inc.                                     February,                          $8,236.89         Secured debt
               One Wall Street, 5th Floor                                  2021 - April,                                        Unsecured loan repayments
               Burlington, MA 01803                                        2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6012 - Marketing

       3.6.
               Google                                                      February,                        $18,000.00          Secured debt
               1600 Amphitheater Parkway                                   2021 - April,                                        Unsecured loan repayments
               Mountain View, CA 94043                                     2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6013 - Promotional
                                                                                                                               Items

       3.7.
               ProLogistix Search Group                                    February,                        $19,763.74          Secured debt
               4444 Decatur Blvd., Suite 700                               2021 - April,                                        Unsecured loan repayments
               Indianapolis, IN 46241                                      2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6080 - Staffing
                                                                                                                               Services

       3.8.
               Pete Kistler                                                February,                        $14,000.00          Secured debt
               3404 American Drive, Apt. 3123                              2021 - April,                                        Unsecured loan repayments
               Leander, TX 78645                                           2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6084 - Subcontract
                                                                                                                               Services

       3.9.
               Xen Uaj Dooel                                               February,                        $33,117.00          Secured debt
               Franklin Ruzvelt 7.1011                                     2021 - April,                                        Unsecured loan repayments
               1000 Skopje North Macedonia                                 2021                                                 Suppliers or vendors
               SKOPJE - KARPOS                                                                                                  Services
                                                                                                                                Other   6087 - Marketing

       3.10
       .    FedEx                                                          February,                        $96,942.77          Secured debt
               Renaissance Center                                          2021 - April,                                        Unsecured loan repayments
               1715 Aaron Brenner Dr., Suite 600                           2021                                                 Suppliers or vendors
               Memphis, TN 38120                                                                                                Services
                                                                                                                                Other 6203 - Outbound
                                                                                                                               Shipping - Customer Sales

       3.11
       .    R&L Carriers Inc.                                              February,                        $22,999.61          Secured debt
               8385 Miramar Mall                                           2021 - April,                                        Unsecured loan repayments
               San Diego, CA 92121                                         2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6203 - Outbound
                                                                                                                               Shipping - Customer Sales




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1      Pg. 31 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.12
       .    PBSmart                                                        February,                        $16,500.00          Secured debt
               3001 Summer Street                                          2021 - April,                                        Unsecured loan repayments
               Stamford, CT 06926                                          2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6203 - Outbound
                                                                                                                               Shipping - Customer Sales

       3.13
       .    UPS                                                            February,                        $29,529.62          Secured debt
               UPS World Headquarters                                      2021 - April,                                        Unsecured loan repayments
               55 Glenlake Parkway, NE                                     2021                                                 Suppliers or vendors
               Atlanta, GA 30328                                                                                                Services
                                                                                                                                Other 6204 - Warehouse
                                                                                                                               Shipping Suplies

       3.14
       .    Uline                                                          February,                        $12,628.23          Secured debt
               12100 Uline Place                                           2021 - April,                                        Unsecured loan repayments
               Pleasant Prairie, WI 53158                                  2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 5204 - Warehouse
                                                                                                                               Shipping Supplies

       3.15
       .    Avalara, Inc.                                                  February,                          $8,500.00         Secured debt
               Avalara Headquarters                                        2021 - April,                                        Unsecured loan repayments
               255 S. King Street, Suite 1800                              2021                                                 Suppliers or vendors
               Seattle, WA 98104                                                                                                Services
                                                                                                                                Other 6223 - Software &
                                                                                                                               Website Fees

       3.16
       .    Zentail                                                        February,                          $8,000.00         Secured debt
               6750 Alexander Bell Drive, Suite 420                        2021 - April,                                        Unsecured loan repayments
               Columbia, MD 21046                                          2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 6223 - Sofewart &
                                                                                                                               Website Fees

       3.17
       .    Marsh & McLennan Agency LLC                                    February,                          $8,051.00         Secured debt
               9171 Towne Centre Drive, Unit 500                           2021 - April,                                        Unsecured loan repayments
               San Diego, CA 92122                                         2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6700 - Insurance

       3.18
       .    E.G. Sanchez & Associates, CPA, APC                            February,                        $47,950.00          Secured debt
               38975 Sky Canyon Drive, Unit 105                            2021 - April,                                        Unsecured loan repayments
               Murrieta, CA 92563                                          2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Accounting/Taxes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1      Pg. 32 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.19
       .    Lisdorf International Consulting LLC                           February,                          $7,800.00         Secured debt
               349 Alpine Avenue                                           2021 - April,                                        Unsecured loan repayments
               Chula Vista, CA 91910                                       2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6856 - Consulting

       3.20
       .    Wendego Infrmation Technology                                  February,                          $7,588.16         Secured debt
               Solutions                                                   2021 - April,                                        Unsecured loan repayments
               10620 Treena Street, Suite 230                              2021                                                 Suppliers or vendors
               San Diego, CA 92131                                                                                              Services
                                                                                                                                Other   6857 - IT Service

       3.21
       .    Pacific Mercantile Bank                                        February,                        $28,872.61          Secured debt
               4250 Executive Square Unit 400                              2021 - April,                                        Unsecured loan repayments
               La Jolla, CA 92037                                          2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6858 - Legal Fees

       3.22
       .    Braumiller Law Group                                           February,                        $21,348.20          Secured debt
               5220 Spring Valley Road, Suite 200                          2021 - April,                                        Unsecured loan repayments
               Dallas, TX 75254                                            2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6858 - Legal Fees

       3.23
       .    Sullivan & Worchester LLP                                      February,                        $10,000.00          Secured debt
               One Post Office Square                                      2021 - April,                                        Unsecured loan repayments
               Boston, MA 02109                                            2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6858 - Legal Fees

       3.24
       .    Thompson Coburn LLP                                            February,                        $10,000.00          Secured debt
               505 N. Seventh Street, Suite 2700                           2021 - April,                                        Unsecured loan repayments
               Saint Louis, MO 63101                                       2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6858 - Legal Fees

       3.25
       .    Whiteslate, LLP                                                February,                          $8,589.13         Secured debt
               2131 Third Avenue South                                     2021 - April,                                        Unsecured loan repayments
               Los Angeles, CA 90012                                       2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   6858 - Legal Fees

       3.26
       .    Raby Law Office                                                February,                          $8,580.00         Secured debt
               1753 East Broadway Road, Suite                              2021 - April,                                        Unsecured loan repayments
               101-428                                                     2021                                                 Suppliers or vendors
               Tempe, AZ 85282                                                                                                  Services
                                                                                                                                Other   6858 - Legal Fees




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1      Pg. 33 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.27
       .    Massachusetts Dept of Revenue:                                 February,                        $50,254.82          Secured debt
               P.O. Box 7089                                               2021 - April,                                        Unsecured loan repayments
               Boston, MA 02241-7089                                       2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   7306 - Sales & Use
                                                                                                                               Tax

       3.28
       .    Fastenal Company                                               February,                        $78,777.00          Secured debt
               Property Administration                                     2021 - April,                                        Unsecured loan repayments
               1801 Theurer Blvd.                                          2021                                                 Suppliers or vendors
               Winona, MN 55987                                                                                                 Services
                                                                                                                                Other   7405 - Warehouse
                                                                                                                               Rent

       3.29
       .    Sreit 8421 Bearing Drvive, LLC                                 February,                       $122,672.65          Secured debt
               PO Box 789956                                               2021 - April,                                        Unsecured loan repayments
               Philadelphia, PA 19178-9956                                 2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 9000 - Other Non
                                                                                                                               Operating Expense

       3.30
       .    MGM Partnership                                                February,                       $110,565.78          Secured debt
               13359 Old Winery Road                                       2021 - April,                                        Unsecured loan repayments
               Poway, CA 92064                                             2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other 9000 - Other Non
                                                                                                                               Operating Expense

       3.31
       .    Pacific Mercantile Bank                                        February,                     $6,736,994.93          Secured debt
               4250 Executive Square Unit 400                              2021 - April,                                        Unsecured loan repayments
               La Jolla, CA 92037                                          2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Loan Payment

       3.32
       .    Franchise Tax Board                                            February,                        $10,076.00          Secured debt
               PO Box 942857                                               2021 - April,                                        Unsecured loan repayments
               Sacramento, CA 94257-0500                                   2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.33
       .    Shenzhen Zdlite Co., LTD.                                      February,                       $151,396.58          Secured debt
               Shenzhen Zhidao Innovation Optoelec                         2021 - April,                                        Unsecured loan repayments
               4th Fl., No, 32th, Langkou Industry Park                    2021                                                 Suppliers or vendors
               Langkou Community Dalang Str                                                                                     Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 34 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.34
       .    Toppo Lighting Company Limited                                 February,                          $6,967.80         Secured debt
               Building 6, Haunping Road, GaoQiao                          2021 - April,                                        Unsecured loan repayments
               Zone, PingDi Town, Long Gang District                       2021                                                 Suppliers or vendors
               Shenzhen, 618117 PRC                                                                                             Services
                                                                                                                                Other

       3.35
       .    Heshi Lighting Electrical Co., LTD                             February,                        $10,666.30          Secured debt
               (NOVA                                                       2021 - April,                                        Unsecured loan repayments
               Room 1902(A), 19/F, 38 Plaza, 38 Shan                       2021                                                 Suppliers or vendors
               Tung Street                                                                                                      Services
               Mongkok KOWLOON, HONG KONG
                                                                                                                                Other

       3.36
       .    Shenzhen Hyperlite LIghting Ltd.                               February,                        $69,220.61          Secured debt
               Hongfa Industrial Area, Building 5                          2021 - April,                                        Unsecured loan repayments
               Baoan 518000                                                2021                                                 Suppliers or vendors
               Shenzhen, CHINA                                                                                                  Services
                                                                                                                                Other

       3.37
       .    Shanghai Ckra Lighting Technology                              February,                        $25,509.96          Secured debt
               Co..                                                        2021 - April,                                        Unsecured loan repayments
               No. 2710 Fengxiang road, Jiading Dist.                      2021                                                 Suppliers or vendors
               Shanghai, CHINA 201800                                                                                           Services
                                                                                                                                Other

       3.38
       .    HLE Lanhe Optics Limited                                       February,                        $39,860.24          Secured debt
               Songgang DongFang Sub Branch No.                            2021 - April,                                        Unsecured loan repayments
               14                                                          2021                                                 Suppliers or vendors
               Shuguang Road, Songang Sub District                                                                              Services
               Shanghai, CHINA 201800
                                                                                                                                Other

       3.39
       .    Shenzhen Topband Co. LTD.                                      February,                        $48,729.58          Secured debt
               No. 113 Dongxin Avenue                                      2021 - April,                                        Unsecured loan repayments
               Huizhou City, CHINA                                         2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.40
       .    Shiphawk                                                       February,                        $12,393.51          Secured debt
               925 De La Vina St., #300                                    2021 - April,                                        Unsecured loan repayments
               Santa Barbara, CA 93101                                     2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.41
       .    Department of Revenue - Washington                             February,                        $11,212.34          Secured debt
               State                                                       2021 - April,                                        Unsecured loan repayments
               2101 4th Avenue, Suite 1400                                 2021                                                 Suppliers or vendors
               Seattle, WA 98121                                                                                                Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 35 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.42
       .    C&B Construction LLC                                           February,                          $8,509.71         Secured debt
               5998 E. Co. Rd. 300 S.                                      2021 - April,                                        Unsecured loan repayments
               Greencastle, IN 46135                                       2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.43
       .    American Express                                               February,                       $601,009.06          Secured debt
               9201 Corporate Blvd., Unit 130                              2021 - April,                                        Unsecured loan repayments
               Rockville, MD 20850                                         2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.44
       .    Betty Yang                                                     February,                        $17,200.00          Secured debt
               7A, Bldg. Shanghvi, Shensi Hua                              2021 - April,                                        Unsecured loan repayments
               Gangdong, CHINA 518108                                      2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.45
       .    Zana Ali                                                       February,                        $51,804.78          Secured debt
               Vasagatan 16, 111 20                                        2021 - April,                                        Unsecured loan repayments
               Stockholm, SWEDEN                                           2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.46
       .    Dept. of Revenue - Massachusetts                               February,                       $153,849.87          Secured debt
               MA Department of Revenue                                    2021 - April,                                        Unsecured loan repayments
               PO Box 7089                                                 2021                                                 Suppliers or vendors
               Boston, MA 02241-7089                                                                                            Services
                                                                                                                                Other

       3.47
       .    Capital One                                                    February,                       $112,786.10          Secured debt
               PO Box 30285                                                2021 - April,                                        Unsecured loan repayments
               Salt Lake City, UT 84130-0287                               2021                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.48
       .    Ministere Du Revenu Du Guebec                                  February,                        $38,400.00          Secured debt
               584 Rue Commerciale                                         2021 - April,                                        Unsecured loan repayments
               La Tuque QC G9X 3A9                                         2021                                                 Suppliers or vendors
               CANADA                                                                                                           Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 36 of 55

 Debtor       Hyperikon, Inc.                                                                           Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Jan Brandrup                                                8/13/2020                        $35,044.00         Distribution to Pay CA State
               PO Box 1288                                                                                                     Taxes
               Rancho Santa Fe, CA 92067

       4.2.    Alexander Brandrup                                          8/13/2020                        $26,092.00         Distribution to Pay CA State
               820 Muskingum Avenue                                                                                            Taxes
               Pacific Palisades, CA 90272

       4.3.    Nicklas Brandrup                                            8/13/2020                        $31,397.00         Distribution to Pay CA State
               830 Island Avenue                                                                                               Taxes
               San Diego, CA 92101

       4.4.    Alexander Brandrup                                          8/24/2020                        $84,866.00         Distribution to Pay CA State
               820 Muskingham Avenue                                                                                           Taxes
               Pacific Palisades, CA 90272

       4.5.    Nicklas Brandrup                                            8/24/2020                        $92,518.00         Distribution to Pay Federal
               830 Island Avenue                                                                                               Taxes
               San Diego, CA 92101

       4.6.    Jan Brandrup                                                8/24/2020                       $102,942.00         Distribution to Pay Federal
               PO Box 1288                                                                                                     Taxes
               Rancho Santa Fe, CA 92067

       4.7.    Jan Brandrup                                                9/21/2020                          $1,804.06        Distribution to Pay CA State
               PO Box 1288                                                                                                     Taxes
               Rancho Santa Fe, CA 92067

       4.8.    Alexander Brandrup                                          5/1/2020 -                      $100,469.94         Standard Compensation
               820 Muskingum Avenue                                        4/30/2021
               Pacific Palisades, CA 90272

       4.9.    Nicklas Brandrup                                            5/1/2020 -                      $121,519.57         Standard Compensation
               830 Island Avenue                                           4/30/2021
               San Diego, CA 92101

       4.10 Jan Brandrup                                                   5/1/2020 -                       $38,076.84         Standard Compensation
       .    PO Box 1288                                                    4/30/2021
               Rancho Santa Fe, CA 92067

       4.11 Alex Kamergorodsky                                             5/1/2020 -                      $184,560.69         Standard Compensation
       .    15742 Potomac Road                                             4/30/2021
               San Diego, CA 92127

       4.12 Alex Kamergorodsky                                             5/1/2020 -                         $1,176.93        Expense Reimbursements
       .    15742 Potomac Road                                             4/30/2021
               San Diego, CA 92127

       4.13 QDE, LLC                                                       1/5/2021                         $45,000.00         Bonus to Alex Kamergorodsky -
       .    15742 Potomac Road                                                                                                 paid to his LLC
               San Diego, CA 92127

       4.14 Exfreight                                                      11/18/2020 -                    $281,288.40         Payment for Freight Forwarding
       .    PO Box 31813                                                   4/6/2021                                            Services
               Tampa, FL 33631

       4.15 Jan Brandrup                                                   2/1/2021 -                       $45,000.00         Loan Repayment from
       .    PO Box 1288                                                    4/30/2021                                           Hyperikon
               Rancho Santa Fe, CA 92067

       4.16 See Attachment 4                                                                                       $0.00
       .

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                        Doc 1       Pg. 37 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.17 Hyperikon S.A. de C.V.                                          5/1/2020 -                     $271,811.53           Ordianary course intercompany
       .    Jose Clemente Orozco                                            4/30/2021                                            transfer to fund ongoing
               #2410 Int. 3016 Zona Urbana Rio                                                                                   operations
               Tijuana Baja
               CA 22010

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 10
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21               Entered 04/30/21 14:53:59                     Doc 1       Pg. 38 of 55

 Debtor        Hyperikon, Inc.                                                                              Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.                                                                                                                   April 5 and
                                                                                                                               April 29,
                                                                                                                               2021. On
                                                                                                                               April 30,
                                                                                                                               2021,
                                                                                                                               Thompson
                                                                                                                               Coburn
                                                                                                                               applied
                                                                                                                               $11,769.50
                                                                                                                               of the
                 Thompson Coburn LLP                                                                                           retainer to
                 One US Bank Plaza                                                                                             satisfy fees
                 27th Floor                                                                                                    through
                 Saint Louis, MO 63101                               Attorneys Fees                                            4.28.21.               $20,000.00

                 Email or website address
                 www.thompsoncoburn.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                     Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange                was made                       value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 11
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 39 of 55

 Debtor        Hyperikon, Inc.                                                                          Case number (if known)




       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     707 Broadway, Suite 800                                                                                   2018 - 2020
                 San Diego, CA 92101

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Customer name, address, email address, and in certain cases credit
                  care information
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    TriNet 401k Plan as adopted by Hyperikon                                                   EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 12
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1     Pg. 40 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 21-01776-LT7                        Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1         Pg. 41 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Hyperikon Subsidiary - Mexico                    EIN:
             Hyperikon S.A. de C.V.                                                                                         n/a
             Jose Clemente Orozco #2410                       Office
             Int. 3016                                                                                         From-To      1/1/2017 - 4/30/2020
             Zona Urbana Rio, TIJUANA
             Baja, CA 22010

    25.2.                                                     Hyperikon Subsidiary - Same                      EIN:
             Lighting United, Inc.                                                                                          XX-XXXXXXX
             30 N. Gould Street, Suite N                      Nature
             Sheridan, WY 82801                                                                                From-To      8/28/2020 - Present

    25.3.                                                     Hyperikon Subsidiary - Importing                 EIN:
             Dynamo Resources, Inc.                                                                                         XX-XXXXXXX
             30 N. Gould Street, Suite N
             Sheridan, WY 82801                                                                                From-To      6/26/2017 - 8/9/2020

    25.4.                                                     Hyperikon Subsidiary - Financing                 EIN:
             MG Capital, LLC                                                                                                XX-XXXXXXX
             30 N. Gould Street, Suite N                      Entity
             Sheridan, WY 82801                                                                                From-To      8/27/2020 - Present

    25.5.                                                     Hyperikon Subsidiary - China                     EIN:
             Stonebarn Ltd                                                                                                  N/A
             United C, 8/F Kind Palace
             Plaza                                                                                             From-To      6/6/2018 - Present
             No. 55 Kind Yip Street
             Kwun Tong, KOWLOON,
             HONG KONG


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Yan He                                                                                                                     2018 - Present
                    3869 Miramar Street, #3617
                    La Jolla, CA 92037

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 14
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1   Pg. 42 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.2.       Alex Kamergorodsky                                                                                                  2020-2021
                    15742 Potomac Rd
                    San Diego, CA 92127
       26a.3.       Jeppe Lisdorf                                                                                                       2015-2020
                    349 Alpine Ave.
                    Chula Vista, CA 91910

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       E.G. Sanchez & Associates, CPAS, APC                                                                                2016 - Present
                    38975 Sky Canyon Drive, Unit 105
                    Murrieta, CA 92563

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Yan He
                    3869 Miramar Street
                    La Jolla, CA 92037
       26c.2.       Alex Kamergorodsky
                    15742 Potomac Ridge Road
                    San Diego, CA 92127

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Pacific Mercantile Bank
                    4250 Executive Square Unit 400
                    La Jolla, CA 92037
       26d.2.       Axos Bank
                    4350 La Jolla Village Drive
                    San Diego, CA 92122
       26d.3.       Bank of Southern California
                    12265 El Camino Real, Unit 100
                    San Diego, CA 92130
       26d.4.       Bolt Financial, Inc.
                    77 Geary Street
                    San Francisco, CA 94108

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 15
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
           Case 21-01776-LT7                         Filed 04/30/21            Entered 04/30/21 14:53:59                       Doc 1    Pg. 43 of 55

 Debtor      Hyperikon, Inc.                                                                            Case number (if known)



               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicklas Brandrup                               830 Island Avenue                                   President                             34%
                                                      San Diego, CA 92101

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jan Brandrup                                   PO Box 1288                                         Chairman                              37%
                                                      Rancho Santa Fe, CA 92067

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alexander Brandrup                             820 Muskingum Avenue                                CEO                                   29%
                                                      Pacific Palisades, CA 90272

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alex Kamergorodsky                             15742 Potomac Ridge Road                            COO                                   n/a
                                                      San Diego, CA 92127



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 See answer to question 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 16
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 44 of 55
Case 21-01776-LT7      Filed 04/30/21     Entered 04/30/21 14:53:59       Doc 1    Pg. 45 of 55




                                        Attachment 4

In December of 2020, Hyperikon, Inc. caused two new wholly owned subsidiaries to be formed:
Lighting United, Inc. (“Lighting United”) and MG Capital, LLC (“MG”). Hyperikon intended to use
Lighting United o improve procurement and purchasing power, primarily from offshore vendors.
Hyperikon intended to use MG to attract additional investors to expand a new software product
called HyperPro.

On December 10, 2020, Hyperikon made three loans to its shareholders: (a) to Alexander
Brandrup for $900,000, (b) to Nicklas Brandrup for $900,000, and (c) to Jan Brandrup for
$900,000. Within days, the three shareholders contributed a total of $2,301,000 to MG Capital.

MG Capital thereafter contributed $360,000 to Lighting United. Lighting United purchased
product and paid non-insider vendors $359,000. On January 5, 2021, Pacific Mercantile Bank,
which held a perfected lien in all of Hyperikon’s assets, made demand on its secured loan.
Hyperikon and its shareholder decided to reverse the transactions involving themselves,
Lighting United, and MG Capital. Eventually, all funds that were loaned to the shareholders
were returned to Hyperikon, either by the shareholders themselves or MG Capital. Any margin
realized on the sale of goods purchased by Lighting United was upstreamed to Hyperikon. In
fact, the shareholders collectively made additional capital contributions to Hyperikon after
December 10, 2020 over and above the amounts loaned as follows: (a) Alexander Brandrup –
an additional $875,333, (b) Jan Brandrup – an additional $691,000, and (c) Nicklas Brandrup,
an additional $900,000.

After the secured creditor demanded repayment, Hyperikon liquidated a portion of its inventory
and repaid the secured creditor’s loan in full.
             Case 21-01776-LT7                       Filed 04/30/21           Entered 04/30/21 14:53:59             Doc 1        Pg. 46 of 55

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re       Hyperikon, Inc.                                                                                  Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 20,000.00
              Prior to the filing of this statement I have received                                       $                 20,000.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

              "   Debtor           # Other (specify):

3.     The source of compensation to be paid to me is:
              "   Debtor           # Other (specify):

4.       "   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         # I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  My firm assisted in preparation of schedules, statement of financial affiars, and supporting documents. My firm
                  also anticipates interactiing with trustee regarding transfer of assets located in California and Indiana and
                  potential ways of monetizing estate assets

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 30, 2021
     Date                                                                         Jeffrey N. Brown 105520
                                                                                  Signature of Attorney
                                                                                  Thompson Coburn LLP
                                                                                  2029 Century Park East
                                                                                  19th Floor
                                                                                  Los Angeles, CA 90067
                                                                                  310-282-2500 Fax: 310-282-2501
                                                                                  jbrown@thompsoncoburn.com
                                                                                  Name of law firm




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 47 of 55
           Case 21-01776-LT7                         Filed 04/30/21     Entered 04/30/21 14:53:59                    Doc 1       Pg. 48 of 55

CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
    Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 49 of 55



x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                         Becknell Investors 2011 LLC
                         2750 East 146th Street, #200
                         Carmel, IN 46033



                         Braumiller Law Group
                         5220 Spring Valley Road, Suite
                         Dallas, TX 75254



                         Butterfield Schechter LLP
                         10021 Willow Creek Road, #200
                         San Diego, CA 92131



                         Cintas
                         PO Box 631025
                         Cincinnati, OH 45263



                         Crest Beverage LLC
                         8870 Liquid Ct.
                         San Diego, CA 92121



                         CT Corporation
                         Zuidpoolsingel 2408 ZE Alphen
                         and Rijn NETHERLANDS



                         Demand Packaging LLC
                         1607 Augusta Parkway
                         Henryville, IN 47126



                         Department Homeland Sec. USCBP
                         555 Battery St.
                         Attn: Katrina Williams
                         San Francisco, CA 94111-2312



                         Elite SEM/Tinuiti
                         PO Box 28415
                         New York, NY 10087-8415
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 50 of 55




                     Exfreight
                     2290 - 10th Avenue
                     Suite 501
                     Lake Worth, FL 33461



                     Fastenal Company
                     Property Administration
                     1801 Theurer Blvd.
                     Winona, MN 55987



                     FedEx
                     PO Box 63247
                     North Charleston, SC 29419



                     Flexport
                     760 Market Street, 8th Floor
                     San Francisco, CA 94102



                     Fusion Logistics
                     1900 NW Corporate Blvd.
                     Boca Raton, FL 33431



                     Globaltranz Enterprises, Inc.
                     3001 N. Main Street
                     Prescott Valley, AZ 86314



                     Home Goods, Inc - The TJX Comp
                     300 Value Way
                     Marlborough, MA 01752



                     HomeLite Technology Co., Ltd.
                     No. 319 Jiugan Rd.
                     Shanghai 201601 CHINA



                     Intact Insurance
                     605 Highway 169 North
                     Suite 800
                     Minneapolis, MN 55441
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 51 of 55




                     Jan Brandrup
                     PO Box 1288
                     Rancho Santa Fe, CA 92067



                     Laz Parking
                     PO Box 847370
                     Los Angeles, CA 90084



                     Lighting Science Group Corp
                     PO Box 847370
                     Dept. #9819
                     Los Angeles, CA 90084



                     M.H. Equipment
                     4469 Solutions Center
                     Chicago, IL 60677-4004



                     MGM Partnership
                     13359 Old Winery Road
                     Poway, CA 92064



                     MNP
                     Suite 2000, 330 5 Ave. S.W.
                     Calgary Alberta CANADA T2P OL4



                     Noel Kean
                     10018 Holborn Street
                     Santee, CA 92071



                     Oracle America Inc.
                     500 Oracle Parkway
                     Redwood City, CA 94065



                     Panitch Schwarze Belisario
                     Two Commerce Square
                     2001 Market Street, Suite 2800
                     Philadelphia, PA 19103
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 52 of 55




                     Pete Kistler
                     3404 American Dr, Apt. .3123
                     Redwood City, CA 94065



                     Philips Lighting Holding B.V.
                     Intellectual Property
                     5656 AEEindhoven
                     The Netherlands



                     Prolift
                     12001 Plantside Drive
                     Louisville, KY 40299



                     Proxima 707 LLC
                     Dept. LA 24590
                     Pasadena, CA 91185



                     Quench USA, Inc.
                     PO Box 781393
                     Philadelphia, PA 19178-1393



                     Ray's Trash Services, Inc.
                     6251 S. Indianapolis Road
                     Whitestown, IN 46075



                     Shenzhen Guanke Technologies
                     A101, Bldg 34 Zialang Ind. Zon
                     GUANGDONG, CHINA 518106



                     Shenzhen Hyperlite Lighting
                     Hongfa Ind. Area, Bldg. 5
                     518000 Shenzhen CHINA



                     Shenzhen SNC Opto Electronics
                     BI 6 Zhengdaan Industry Pk 172
                     SongGang town, CHINA
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 53 of 55




                     Shenzhen Topband Co. LTD.
                     No. 113 Dongxin Avenue
                     Huizhou City, CHINA



                     Signify Holding B.V., License
                     Bldg, HTC 5, 5th Floor
                     5656 AE Eindhoven Netherlands



                     Sreit 8421 Bearing Drvive, LLC
                     PO Box 789956
                     Philadelphia, PA 19178-9956



                     Steam Logistics
                     PO Box 117301
                     Atlanta, GA 30368



                     Toppo Lighting Company Limited
                     Building 6, Huang Rd GaoQiao
                     LongGang Dist. Shenzhen 518117



                     UL AG
                     75 Remittance Drive, Ste. 1524
                     Chicago, IL 60675-1524



                     UPS Supply Chain Solution, Inc
                     28013 Network Place
                     Chicago, IL 60673-1280



                     US Small Business Association
                     409 3rd Street, SW
                     Washington, DC 20416



                     USA Debt Recovery Solutions
                     255 W. Foothill Blvd., #205
                     Upland, CA 91786
Case 21-01776-LT7   Filed 04/30/21   Entered 04/30/21 14:53:59   Doc 1   Pg. 54 of 55




                     VELOX Media
                     816 W. Bannock Street
                     Suite 306
                     Boise, ID 83702



                     Walmart Inc.
                     c/o Bank of America
                     PO Box 500787
                     Saint Louis, MO 63150



                     Wendego Informaton Technology
                     9685 Via Excelencia, Suite 102
                     San Diego, CA 92126



                     Xen Uaj Dooel
                     Franklin Ruzvelt 7.1011
                     1000 Skopje North Macedonia
                     Skopje, Macenonia



                     Zhejiang Hengdian Tospo Imp.
                     RM3/F World Trade Office Plaza
                     122 Shuguang Rd Hangzhou CHINA
           Case 21-01776-LT7                         Filed 04/30/21           Entered 04/30/21 14:53:59         Doc 1     Pg. 55 of 55




                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re      Hyperikon, Inc.                                                                                Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hyperikon, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



" None [Check if applicable]




 April 30, 2021
 Date                                                                  Jeffrey N. Brown 105520
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Hyperikon, Inc.
                                                                       Thompson Coburn LLP
                                                                       2029 Century Park East
                                                                       19th Floor
                                                                       Los Angeles, CA 90067
                                                                       310-282-2500 Fax:310-282-2501
                                                                       jbrown@thompsoncoburn.com




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
